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UNITED STATES DISTRICT COURT
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‘ ” FOR THE CENTRAL DISTRICT OF CALTFORNIA
June 2017 Grand Jury
UNITED STATES OF AMERICA, CR wh. O£ R 0) 0 9 ( 4 “Oa
Plaintiff, INDICTMENT
Vv. [18 U.S.C. § 371: Conspiracy; 18
; U.S.C. § 545: Importing Wildlife
SHAWN NAOLU LEE and Contrary to Law; 16 U.S.C. .
MICKEY TANADI, , §§ 3372(d) (1), 3373 (d) (3):
‘ Submitting a False Record for
Defendants. Wildlife Intended for Importation;
18 U.S.C. § 2(b): Causing an Act
to be Done]

 

 

The Grand Jury charges:

a
INTRODUCTORY: ALLEGATIONS

At all times relevant to this Indictment:

1. The Convention on International Trade in Endangered Species
of Wild Fauna and Flora (“CITES”) was.an international agreement
among governments, including the United States and Indonesia.

2. The purpose of CITES was to ensure that international trade
in specimens of wild animals and plants did not threaten their

survival.

 

 

 

 
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3. All import, export, and: re-export of specimens covered by
CITES had to be authorized through .a licensing system.

4. Each specimen covered by CITES was listed in one of three
appendices according to the degree of protection afforded to that

specimen.

5. Appendix I of CITES included Asian arowana fish (Scleropages

Formosus) .

6. The Endangered Species Act prohibited trade in any specimen
| \ :

contrary to the provisions of CITES. 16 U.S.C. §§ 1538(c) (1),
1540 (b) (1).

7. CITES generally prohibited the importation and exportation
of specimens listed in Appendix I unless the required CITES
documentation was obtained from both the country of export and the
country of import. 50 C.F.R. §§ 23.13, 23.20.

8. Federal regulations required an importer or exporter of
wildlife to complete the U.S. Fish and Wildlife Service (“USFWS”)
Declaration for Importation or Exportation of Fish or Wildlife (Form
3-177) and submit the form to the USFWS. 50 C.F.R. §§ 14.61, 14.63.

9. These Introductory Allegations are hereby re-alleged and -

incorporated into each and every count of this Indictment.

 

 
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- COUNT ONE
[18 U.S.C. § 371]

A. OBJECT OF THE CONSPIRACY

1. Beginning on an unknown date and continuing to on or about
February 10, 2017, in Los Angeles County, within the Central District
of California, and elsewhere, defendants: SHAWN NAOLU LEE (“defendant
LEE’). and MICKEY TANADI (“defendant TANADI”), and others known and
unknown to the Grand Jury, conspired and agreed with each other to
knowingly and fraudulently import and bring merchandise, namely, live
CITES -protected Asian arowana fish (Scleropages formosus), into the
United States contrary to law, that is: (1) without obtaining the
required CITES documentation, in violation of the Endangered Species
Act, Title 16, United States Code, Sections 1538(c) (1) and
1540(b) (1), and the Convention on International Trade in Endangered
Species of Wild Fauna and Flora, Title 50, Code of Federal
Regulations, Sections 23.13 and 23.20; and (2) -without filing a
completed Declaration for Importation or Exportation of Fish or
Wildlife (Form 3-177) with the USFWS, in violation of Title 50, Code
of Federal Regulations, Section 14.61; all in violation of Title 18,

United States Code, Section 545.

B. MANNER AND MEANS OF THE CONSPIRACY

2. The object of the conspiracy was carried out, and was to be
carried out, in substance as follows: -
a. Defendant LEE would order live CITES protected Asian

arowana fish (Scleropages formosus) from defendant TANADI in

 

Indonesia.

 

 
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b. Defendant LEE. would wire money to defendant TANADI in

Indonesia to pay for the fish. .

c. Defendant TANADI would package live CITES -protected

Asian arowana fish (Scleropages formosus) in a manner designed to

 

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conceal the fish.

d. Defendant TANADI would ship live CITES-protected Asian:

arowana fish (Scleropages formosus) to defendant LEE’s residence in

 

Garden Grove, California.
e. Defendant LEE would receive and re-sell the live

CITES-protected Asian arowana fish (Scleropages formosus).
Cc, OVERT ACTS

On or about the following dates, in furtherance of the
conspiracy and to accomplish its object, defendants LEE and TANADI,
and other co-conspirators known and unknown to the Grand Jury,
committed, and willfully caused others to: commit, various overt acts
within the Central District of California and elsewhere, including,
but not limited to, the following:

Overt Act No. 1: On or about January 19, 2017, defendant LEE

‘gent electronic communications to defendant TANADI requesting Asian

arowona fish (referred to by defendant LEE as “Arrows”).

Overt Act No. 2: On or about’ January 19, 2017, defendant TANADI
sent electronic communications to defendant LEE responding “You know
in US the fish is prohibited right.”

Overt Act No. 3: On or about January 19, 2017, defendant LEE

sent electronic communications to defendant TANADI responding “Yea.”

 

 
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Overt Act No. 4: On or about January 19, 2017, defendant TANADI
sent. electronic communications to defendant LEE stating “We have the
method to smuggle it.” i

Overt Act No. 5: On or about January 19, 2017, in response to a
question from defendant TANADI, defendant LEE sent electronic
communications telling him that the fish were partly for resale.

a Overt Act No. 6: On or about January 19, 2017, defendant TANADI
sent electronic communications to defendant LEE telling him that the
Minimum shipment for arowana was eight fish (with a $600 shipping
cost) and that cost was $750 for arowana super red and $250 for red
tail golden.

Overt Act No. 7: On or about January 19, 2017, defendant TANADTI
sent electronic communications to defendant LEE telling him that,
“For smuggling, i can not guarantee 100% fish can make it through
shipping, but we can try to compensate bro.”

Overt Act No. 8: On or about January 19, 2017, defendant LEE
sent electronic communications stating “Ok no problem’ and asked for
“some pics” of the fish.

Overt.Act No. 9: On.or about January 19, 2017, in response,

defendant TANADI sent electronic communications with photographs of

fish to defendant LEE. 4 ; . .

Overt Act No. 10: On or about January 20, 2017, defendant
TANADI sent defendant LEE electronic communications stating that “Aro
different” than legal fish because “we can not declare it all” when
shipping. According to defendant TANADI, “We use special treatment
water, with kordon bag (u know this one right), and then we treat.the

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fish well, then smuggle it as ‘aquarium supplies. ‘”

 

 
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Overt Act No. 11: 7On or about January 20, 2017, defendant
TANADI sent electronic communications telling defendant LEE “Do.not
tell anything about the this illegal arowana to anyone, including my
boss on Venus Aquatics” and “This smuggling stuff only between. you

and me.”

Overt Act No. 12: (On or about January 20, 2017, defendant LEE

| sent electronic communications responding “No problem i only work

with you.”

Overt Act No. 13: On or about January 20, 2017, defendant
TANADI sent electronic communications to defendant LEE asking “For
the first trial, 8 rtg how?”

Overt Act No. 14: On or about January 20, 2017, defendant LEE

sent electronic communications responding “Yes boss we do 8 rtg

first.”

Overt Act No. 15: On or about January 20, 2017, defendant
TANADI sent electronic communications reiterating “Ok, pls keep this
as a secret (my boss, Nicholas), will kick me if he knows i do
smuggling.”

Overt Act No. 16:. On or about January 20, 2017, defendant LEE
sent electronic communications responding “Your word my word, thank
you.”

Overt Act No. 17: On or about January 20, 2017, defendant.
TANADI sent electronic communications to defendant LEE identifying
that the cost would be eight fish for $250 each ($2,000 total), plus
$550 for shipping, for a total of $2,550 in United States dollars.::
Defendant TANADI also provided his bank routing information in

Indonesia, and sent a photograph of his passport.

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Overt Act No. 18:2. On or about January 20, 2017, defendant LEE
sent electronic communications discussing sending a friend in.
Indonesia to meet defendant TANADI, defendant TANADI told defendant
LEE not to tell the friend about the “arowana mission,” and defendant
LEE said that he would see “not arrow. stuff just legal stuff.”

Overt Act No. 19: On or about January 21, 2017, defendant
TANADI sent electronic communications to defendant LEE identifying

that the first shipment would be on February 6 for $2,550 and asked

for defendant LEE’s address.

Overt Act No. 20: On or January 21, 2017, defendant LEE sent
electronic communications providing his address in Garden Grove,
California.

Overt Act No. 21: On or about January 21, 2017, defendant
TANADI asked when defendant LEE would send the payment “So i can
prepare n do gome treatment for the fish, bcs the fish will have 48
hrs trip therefore we need to make sure the fish in their best
condition.”

Overt Act No. 22: On or about January 21, 2017, defendant LEE
said that he would send the money.on Monday (January 23, 2017).

Overt Act No. 23; On or about January 22, 2017, defendant
TANADI sent electronic communications asking “for the arowana first 8
rgt yaa.” |

Overt Act No. 24: On or about January 22, 2017, defendant LEE.
sent electronic communications responding “Yes please” and “I send

money .tomorrow.” ,

 

 
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Overt Act No. 25: On or about January ‘22, 2017, defendant
TANADI sent electronic. communications responding that they would
shoot for February 6 to send the fish.

Overt Act No. 26: On or about January 23, 2017, in response to
discussing fish other than arowana, defendant TANADI sent electronic
communications telling defendant LEE “Anw pls separate payment yaa
hehe‘ for arowana, send to my account” and “For another fish, to my
boss’ account.”

Overt Act No. 27: On or about January 23, 2017, defendant
TANADI re-sent his account information and his passport photograph to
defendant LEE.

Overt Act No. 28: On or about January 23, 2017, defendant LEE

sent electronic communications confirming that the amount was $2,550

and said that he would send the payment that day.

Overt Act No. 29: On or about January 23, 2017, defendant LEE
sent electronic communications telling defendant TANADI “I’m Sorry
bro couldn't make it today. I will take care tomorrow is that ok?”

Overt Act No. 30: On or about January 23, 2017, defendant
TANADI sent electronic communications stating “np,” meaning no
problem. .

Overt Act No. 31: On: or about January 24, 2017, defendant: LEE
gent electronic communications stating that “just filled out the wire
transfer, bank said they send it out tomorrow.” 74

Overt Act No. 32: On or about January 25, 2017, defendant LEE
sent electronic communications to defendant TANADI and said that the

bank “said i have wrong address for you” and asked how to write the

address.

 

 
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Overt Act No?.33: On or about January 25, 2017, defendant
TANADI sent electronic communications writing out the ‘address for
defendant LEE and explained that the “most important is the SWIFT
code + my account number + my account name.”

Overt Act No. 34: On or.about January 26, 2017, defendant LEE.
sent electronic communications telling defendant TANADI that he was
going to the bank in a hour and would let him know.

Overt Act No. 35: On or about January 26, 2017, defendant LEE
wired $2,550 to defendant TANADI to pay for the eight Asian arowana:-
fish.

Overt Act No.-36: On or about January 26, 2017, defendant LEE
sent electronic communications telling defendant TANADI that the bank
sent the money that day.

Overt Act No. 37:. On or about January 29, 2017, defendant
TANADI sent electronic communications telling defendant LEE that he
received the money and the money was correct.

Overt Act No: 38: On or about January 29, 2017, defendant
TANADI sent electronic communications telling defendant LEE that he
would get the fish from the supplier. that Wednesday morning (February
1). |

Overt Act No..39: On or about January 29, 2017, defendant
TANADI sent electronic communications telling defendant LEE that
Swill give food and treat ithe fish for 3 days - then we need to.
starve them for 48 hours and on monday [February 6], shipment will be
done.”

Overt Act No. 40: On or about January 29, 2017, defendant LEE

sent electronic communications asking how long before they did

 

 
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another. shipment; defendant TANADI asked whether arowana or “legal
shipment,” defendant LEE stated arowana, and defendant TANADI said it
would be at least two weeks before they did another arowana shipment.

~ Overt Act No. 41: On or about January 30, 2017, defendant
TANADI sent electronic communications asking defendant LEE if it was
okay to delay shipment by one day to February 7.

Overt Act No. 42: On or about January 30, 2017, defendant LEE
sent electronic communications responding “No problem.”

Overt Act No. 43: On or about January 30, 2017, defendant
TANADI sent electronic communications stating that defendant LEE
would receive the fish on February 9. Defendant TANADI said he would
update defendant LEE with the details.

Overt Act No. 44: On or about February 1, 2017, defendant
TANADI sent electronic communications stating that he was looking for
items to smuggle the fish in, sent defendant LEE a photograph of a
porcelain pot, said that was “the plan.”

Overt Act No. 45: On or about February 1, 2017, defendant LEE
sent electronic communications questioning whether the fish was going
to be “put in that.”

Overt Act No. 46: On or about February 1, 2017}. defendant
TANADI sent electronic communications stating that he was going to
put the fish in a plastic bag first and sent a photograph of a fish
in a bag. ; wf |

Overt Act No. 47: ‘On or about February 3, 2017, defendant
TANADI sent electronic communications stating that he was having

problems finding a. pot to hide the fish.

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Overt’ Act-No. 48: On or about February 33,2017, defendant LEE
sent electronic communications telling him “its OK take your time”
and “No rush.” .

Overt Act No. 49: On or about February 3, 2017, defendant
TANADI sent electronic communications stating that if it fits, he
will ship on Monday (February 6).

Overt Act No. 50: On or about February 5, 2017, defendant

TANADI sent electronic communications asking for defendant LEE’s

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address. “

Overt Act No. 51: On or about February 5, 2017, defendant LEE

sent electronic communications with his address in Garden Grove,

California.

Overt Act No. 52: On or about February 5, 2017, defendant
TANADTI sent. electronic communications identifying that he would state
that the value of the items was $700 and he had found “the huge pot”
to send them in and sent a photograph of one of the pots.

Overt Act No. 53: On or about February 5, 2017, defendants
TANADI and LEE discussed via electronic communications the water
‘conditions for keeping the fish in his aquarium.

Overt Act No. 54: On or about February 5, 2017, defendant
TANADI sent electronic communications stating that the scheduled
arrival time should be Wednesday morning, February 8, -and that he
would go to DHL that day to send the fish.

Overt Act No. 55:° On or about February 5, 2017, defendant LEE.
sent electronic communications asking how many fish per pot.

overt Act No. 56: On or about February 5, 2017, defendant

TANADI sent electronic communications responding that one pot equaled

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two fish but™he would send five or six pots in Gase DHL wanted to

open it.
Overt Act No. 57: On or about February 5, 2017, defendant

TANADI sent electronic communications with a breakdown of the
shipment: $2,000 for the fish, $400 for DHL, $80 for the pots used,
and $50 for Kordon bags and supplies.

Overt Act No. 58: Om or about February 7, 2017, defendant
TANADI sent eight Asian arowana to defendant LEE using DHL with a

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scheduled delivery date of February 9, 2017.
Overt Act No. 59: Between on or about February 7, 2017 and
February 10, 2017, defendants LEE and TANADI discussed the delivery

of the package, including that there had been a customs hold on the

package.

Overt Act No. 60: On or about February 10, 2017, defendant LEE

accepted delivery of the eight Asian arowana.

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COUNT TWO
[18 U.S.C. §§ 545, 2(b)1

On or about February 9, 2017, in Los Angeles County, within the
Central: District of California, and elsewhere, defendants SHAWN NAOLU
LEE and MICKEY TANADI fraudulently and knowingly. imported and
brought, and willfully caused to be imported and brought,
merchandise, namely, eight Asian arowana fish (Scleropages formosus),
into the United States contrary to law, that is: (1) without
obtaining the required CITES documentation, in violation of the
Endangered Species Act, Title 16, United States Code, Sections
1538(c) (1) and 1540(b) (1), and the Convention on International Trade
in Endangered Species of wild Fauna and Flora, Title 50, Code of
Federal Regulations, Sections 23.13 and 23.20; and (2) without filing
a completed Declaration for Importation or Exportation of Fish or
Wildlife (Form 3-177) with the USFWS, in violation of Title 50, Code

of Federal Regulations, Section 14.61.

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COUNT THREE
[16 U.S.C. 88§ 3372(d) (1), 3373 (d) (3); 18 U.S.C. § 2(b)]

On or about February 7, 2017, in Los Angeles County, within the
Central District of California, and elsewhere; defendants SHAWN NAOLU
LEE (“defendant LEE”) and MICKEY TANADI (“defendant TANADI”)
knowingly submitted, and willfully caused to be submitted, a false
record and label for eight Asian arowana fish (Scleropages..formosus)
that were imported and received from a foreign country.

Specifically, defendants LEE and TANADI submitted, and caused to be

submitted, a package label describing the contents of the package as

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“Porcelain Herbal Pot” when, in truth and in fact, as defendants LEE
and TANADI well knew, the package contained Asian arowand fish.

A TRUE BILL

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Foreperson

SANDRA R. BROWN
Acting United States Attorney

-e~

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

JOSEPH O. JOHNS

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MARK A. WILLIAMS

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AMANDA M. BETTINELLI

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Environmental and Community
Safety Crimes Section

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